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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

CHRISTINA MOORE, )
Plaintiff,
v. ) Civ. No. 17-1313-CFC
CHASE BANK USA,
NATIONAL ASSOCIATION, )
Defendant.
ORDER

At Wilmington this 27" day of September, 2018, counsel for plaintiff having sent a letter
to the Court advising that all claims against all defendants have been resolved and requesting that
the case be closed (D.I. 12);

IT IS ORDERED that the above-captioned action shall be dismissed in accordance with

Fed.R.Civ.P. 41(a)(2).

 

‘United States i
